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 Defendants Cipla Limited and
 Cipla USA, Inc.

                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


  FENNEC PHARMACEUTICALS, INC. and                       No. 2:23-cv-00123-MCA-MAH
  OREGON HEALTH AND SCIENCE
  UNIVERSITY,                                            Hon. Madeline Cox Arleo, U.S.D.J.
                                                         Hon. Michael A. Hammer, U.S.M.J.
              Plaintiffs,
                  v.
                                                                     DECLARATION OF
                                                                    JENNA BRUCE, ESQ.
  CIPLA LIMITED and CIPLA USA, INC.,
                                                               IN SUPPORT OF APPLICATION
                Defendants.                                   FOR ADMISSION PRO HAC VICE


                                                                      (Filed Electronically)



        JENNA BRUCE, ESQ., of full age, hereby declares as follows:

        1.      I am an attorney-at-law with the law firm of K&L Gates LLP, 925 Fourth Avenue,

 Suite 2900, Seattle, WA 98104-1158. I am not under suspension or disbarment in any jurisdiction

 or court. No disciplinary proceedings are pending against me and no discipline has previously

 been imposed upon me in any jurisdiction or court.

        2.      I submit this Declaration in support of the application by Defendants Cipla Limited

 and Cipla USA, Inc. (“Cipla”) to permit me to appear and participate, pro hac vice, as counsel for

 Cipla at pre-trial, trial, and post-trial proceedings of the above-captioned action.




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        3.      I am duly admitted and currently in good standing to practice law in the following

 jurisdictions, for which I list my year of admission and the address of the official or office

 maintaining the roll of such members of its bar:

  Bar of Washington (2013)                              Washington State Supreme Court
                                                        415 12th Avenue SW
                                                        Olympia, WA 98504
  U.S. Patent and Trademark Office (2015)               Mail Stop OED
                                                        Director of the US Patent & Trademark Office
                                                        P.O. Box 1450
                                                        Alexandria, Virginia 22313-1450

        4.      I practice in the litigation of patent matters, and am familiar with this action.

        5.      I am associated in this matter with Loly G. Tor, a partner with K&L Gates LLP,

 who is the attorney of record for Cipla, is authorized to practice law in New Jersey, and is a member

 in good standing of the bar of this Court.

        6.      Upon being admitted to appear and participate in this matter pro hac vice, I shall

 promptly make payment to the New Jersey Lawyers’ Fund for Client Protection as provided by

 New Jersey Rule 1:28-2(a), for any year in which I continue to appear in this matter.

        7.      Upon being admitted to appear and participate in this matter pro hac vice, I shall

 also promptly make payment to the Clerk of the United States District Court for the District of

 New Jersey as provided by Local Civil Rule 101.1(c)(3).

        8.      I also understand that upon admission pro hac vice, I am subject to the orders and

 amenable to disciplinary action and the civil jurisdiction of this Court and the New Jersey State

 Bar in all respects as if I were regularly admitted and a licensed member of the Bar of the State of

 New Jersey in good standing. I agree to notify the Court immediately of any matter affecting my

 standing at the bar of any other court.




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        9.      Upon being admitted to appear and participate in this matter, pro hoc vice, I shall

 abide by Local Civil Rule 101.1(c).

        10.     For the foregoing reasons, it is respectfully requested that the Court grant Cipla’s

 application to have me admitted pro hac vice to appear and participate as counsel in this matter

 pursuant to Local Civil Rule 101.1(c).

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed on March 7, 2023.


                                               JENNA BRUCE, ESQ.




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